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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                           )
    In re:                                                 )    Chapter 11
                                                           )
    WELLPATH HOLDINGS, INC. et al.,1                       )    Case No. 24-90533 (ARP)
                                                           )
                  Debtors.                                 )


                          ORDER MODIFYING THE AUTOMATIC STAY
                           WITH RESPECT TO THE SMITH LAWSUIT

             Came for consideration on a final basis the Stipulation and Agreed Order Regarding the

Shannon Plaintiffs’ Objection [ECF No. 1213] (the “Stipulation and Agreed Order”) with respect

to Smith et al. v. Bains et al., Case No. 24-cv-02102-TWT (N.D. Ga.) (the “Smith Lawsuit”) and

the Objection of Cobb County, Georgia, and Cobb County Sheriff to Proposed Stipulation and

Agreed Order Regarding the Shannon Plaintiffs’ Objection with Respect to Henrietta Smith

[ECF No. 1215] (the “Cobb County Objection”). For the reasons stated on the record at the hearing

on February 18, 2025 (the “Hearing”), it is hereby ORDERED, ADJUDGED, and DECREED:

             1.     Except as otherwise set out herein, the automatic stay pursuant to 11 U.S.C. § 362

(the “Automatic Stay”), shall continue to apply to the actions against Wellpath, LLC or any other

debtor in the above-captioned case (the “Debtors”) until the earlier of (a) further order of the Court,

(b) the effective date of a confirmed chapter 11 plan, or (c) dismissal of the above-captioned

chapter 11 cases.

             2.     The Automatic Stay, as extended pursuant to the Amended Final Order

(I) Enforcing the Automatic Stay to Non-Debtor Defendants on a Final Basis, and (II) Granting



1
      A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
      and noticing agent at https://dm.epiq11.com/Wellpath.
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Final Relief [ECF No. 1480] (the “Final Stay Extension Order”), shall continue as to Jeronia

Bowden, Tiarra Carter, and Caryn Forbes (the “Wellpath Employees”) until the earlier of (a) the

effective date of a confirmed chapter 11 plan, (b) dismissal of the above-captioned chapter 11

cases, or (c) April 30, 2025.

       3.      Notwithstanding the Final Stay Extension Order, the Automatic Stay shall not

prohibit continuing the Smith Lawsuit as to Stacey Bains, Kara Padgett, Amanda Brown, Stacey

Kelly, Octavia Keitt, or Daniele Cathey (the “Cobb County Defendants”).

       4.      The Automatic Stay shall not prohibit the Cobb County Defendants from seeking

or obtaining discovery from Wellpath, LLC or the Wellpath Employees related to claims asserted

against the Cobb County Defendants or defenses to such claims in the Smith Lawsuit.

       5.      This order shall not affect the July 18, 2024, Order of the U.S. District Court for

the Northern District of Georgia staying discovery pending resolution of the motion to dismiss by

Stacey Bains, Kara Padgett, and Amanda Brown.

Signed:
                                                    ____________________________________
                                                    Alfredo R. Pérez
                                                    United States Bankruptcy Judge




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